     Case 1:24-cv-00312-SE-TSM            Document 48        Filed 03/05/25      Page 1 of 11




                         UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF NEW HAMPSHIRE

 COALITION FOR OPEN DEMOCRACY,
 et al.,
      Plaintiffs,

      v.                                                   Case No. 1:24-cv-00312-SE-TSM

 DAVID M. SCANLAN, in his official capacity
 as New Hampshire Secretary of State, et al.,
      Defendants.


               DEFENDANTS’ REPLY TO PLAINTIFFS’ OPPOSITION TO
                   THE MOTION TO DISMISS THE COMPLAINT

                                        INTRODUCTION

       The Court should dismiss the Complaint because Plaintiffs have not plausibly alleged that

they have standing to challenge House Bill 1569 (“HB 1569”). Under Plaintiffs’ permissive

theories of standing, it is difficult to imagine who would not have standing to challenge any law

with which an organization or individual disagrees. But even if Plaintiffs had standing to

challenge HB 1569, their factual allegations amount to nothing more than legal conclusions that

cannot support a reasonable inference that HB 1569 will imminently deprive them of their

constitutional rights or unduly burden the exercise of their rights.

                                           ARGUMENT

I.     The Organizational Plaintiffs Do Not Have Standing to Challenge House Bill 1569

       A.      Havens-Standing Is Unusual and Does Not Apply to Plaintiffs

       Plaintiffs allege that “voter registration, poll operation, and voter education” are the “nuts

and bolts” of their organizations. ECF No. 45 at 8. They assert that three categories of diverted

resources, educating the public and volunteers, modifying and creating new materials and

outreach, and recruiting additional poll workers and observers, establish their injuries-in-fact.
        Case 1:24-cv-00312-SE-TSM                 Document 48           Filed 03/05/25          Page 2 of 11




See id. at 9-11. But contrary to Plaintiffs’ assertions, Havens Realty Corp. does not support their

theory of standing. These alleged harms are the consequences of Plaintiffs’ voluntary responses

to HB 1569, they are not consequences of burdens that HB 1569 directly imposes upon them.

Therein lies the critical distinction between the Organizational Plaintiffs and Havens.

          The Fair Housing Act (“FHA”) establishes legally cognizable rights in equal and

nondiscriminatory access to housing. Havens Realty, 455 U. S. at 367 n.2. The Havens

plaintiff’s (“HOME”) FHA-anchored mission was to ensure “equal access to housing” through

its core activities of “counseling and other referral services.” Id. at 379. The landlord-defendant

steered a minority HOME employee away from a predominantly white apartment complex to an

“integrated” apartment. Id. at 368 n.4. The landlord’s racial discrimination, therefore, directly

undermined HOME’s core activities of fighting housing discrimination and advancing equal

housing opportunity. See id. at 379. That is why the Supreme Court held that “there can be no

question that [HOME] has suffered injury in fact.” See id. HOME’s standing did not rely upon

voluntary resource diversion. See id. Rather, HOME could not operate its pre-existing core

counseling and referral business activities where the landlord denied its employee and clients

equal access to housing. 1 See id. The facts of Havens make it an unusual case that is wholly

dissimilar to the parties and claims at issue here. See AHP, 602 U.S. at 396.




    1
       The Supreme Court illustrated the type of relationship between governmental action and organizational harm
that must exist to potentially implicate Havens-standing. HOME is like a retailer who received defective goods
from a manufacturer, the landlord. See AHP, 602 U.S. at 395. As a retailer cannot operate its business in a
defective product marketplace, HOME could not operate its business in a racially discriminatory housing
marketplace. See id. To be sure, HOME expended resources to educate its clients in response to the landlord’s
actions, but that was not its basis for its standing. See id. Here, no similar retailer-manufacturer dynamic manifests
between the Organizational Plaintiffs and HB 1569. Plaintiffs allege that they “will be unable to carry out [their]
mission[s],” but their factual allegations do not support this conclusion. See ECF No. 45 at 8. For example, they
assert that their “core registration assistance services to young voters who lack immediate access to documentary
proof of citizenship w[ill] be less effective.” E.g., id. (quoting ECF No. 1, ¶¶ 24-25) (emphasis added). Plaintiffs do
not explain how their pre-existing services will be less effective, but even if that were true, their investment in
responding to HB 1569 to make their services more effective does not confer Havens-standing upon them.

                                                          2
    Case 1:24-cv-00312-SE-TSM             Document 48        Filed 03/05/25       Page 3 of 11




       B.      The Court Should Not Extend Havens-Standing to Plaintiffs

       Plaintiffs’ expansive interpretation of Havens conflicts with Hippocratic Medicine’s

rationale, rule, and holding. Contrary to Plaintiffs’ argument, Havens does not stand for the

proposition that an organization may “establish standing where the challenged policy has

negatively impacted its core activities or caused it to divert funds from those activities.” Contra

ECF No. 45 at 7-8 & n.2 (asserting that AHP merely reaffirmed Havens and First Circuit cases).

As AHP made perfectly clear, indirect impacts on missions and goals alone never confer

standing. Ariz. All. for Retired Ams. v. Mayes, 117 F.4th 1165, 1175 (9th Cir. 2024).

       Prior to AHP, the Ninth Circuit held an expansive view of Havens-standing like that

proposed by Plaintiffs, but that has since changed. See id. (overruling Havens-standing cases

predating AHP). “Under Hippocratic Medicine,” the Ninth Circuit explained, “plaintiffs must

allege more than that their mission or goal has been frustrated—they must plead facts showing

that their core activities are directly affected by the defendant’s conduct.” Id. at 1172 (citing

AHP, 602 U.S. at 395) (emphasis added). Courts require a direct causal nexus between

governmental action and injury-in-fact because, among other things, plaintiffs may not rely on

“distant (even if predictable) ripple effects.” Id. at 1173 (quoting AHP, 602 U.S. at 383).

       The Mayes plaintiffs (“AARA”) alleged that new Arizona election laws could jeopardize

the right to vote. Id. at 1169. The court described plaintiffs’ standing theory as “conjecture-

laden” because the challenged law did “not directly affect their pre-existing core activities.” Id.

at 1178. This was so because AARA could “still register and educate voters—in other words,

continue their core activities that they have always engaged in.” Id. (citing AHM, 602 U.S. at

396). AARA asserted that it must develop new training materials and counsel voters differently

than before. Id. “But as Hippocratic Medicine explains, spending money voluntarily in response

to a governmental policy cannot be an injury in fact. See 602 U.S. at 394.” Id. If the court were
                                                  3
     Case 1:24-cv-00312-SE-TSM                    Document 48            Filed 03/05/25          Page 4 of 11




to accept such an “extravagant theory of standing,”

         a law school professor who teaches election law would have standing to challenge
         [election-related statutes] because she would have to expend resources to change
         her curriculum and further educate her students about the state of the law. Article III
         standing cannot be based on such fanciful or speculative harm.

Id. at 1180-81. This Court should not storm the beach from which the Ninth Circuit just

retreated. 2

         Just as the Arizona law regulated third parties, so too HB 1569 only regulates third

parties. So, as AARA could continue its pre-existing activities, so too the Organizational

Plaintiffs may still engage in their “voter registration, poll operation, and voter education”

activities. 3 Neither AARA’s nor Plaintiffs’ responses to new election laws confer standing. 4

And as AARA could not establish injury-in-fact by creating new training programs, updating


     2
       The Ninth Circuit is not alone. See, e.g., AFGE v. Ezell, No. 25-10276-GAO, 2025 U.S. Dist. LEXIS 25269,
at *5 (D. Mass. Feb. 12, 2025); Tenn. Conf. of the NAACP v. Lee, 105 F.4th 888, 903 (6th Cir. 2024). Moreover,
Plaintiffs’ claim that “numerous courts” have conferred standing upon plaintiffs like the Organizational Plaintiffs is
not accurate. See ECF No. 45 at 11 (citing League of Women Voters of Ohio v. LaRose, 741 F. Supp. 3d 694, 707
n.3 (N.D. Ohio 2024) (“Ohio law now forbids [the organization’s] members from assisting disabled voters and its
members could be subject to felony criminal charges[.]”); Get Loud Ark. v. Thurston, No. 5:24-CV-5121, 2024 WL
4142754, at *14 (W.D. Ark. Sept. 9, 2024) (holding that Arkansas election law “specifically targeting [the
organization’s] activity of registering voters through its online tool.”); Caicedo v. DeSantis, No. 6:23-CV-2303-JSS-
RMN, 2024 WL 4729160, at *5 (M.D. Fla. Nov. 8, 2024) (denying dismissal on standing where the defendant did
not object to the organization’s diversion-of-resources theory); but see Repub. Nat’l Comm. v. N.C. State Bd. of
Elections, 120 F.4th 390, 410 (4th Cir. 2024) (noting that post-Hippocratic Medicine courts require much more than
diversion of resources to confer organizational standing) (Diaz, C.J., concurring).
     3
       To the extent that Open Democracy and League of Women voters allege that they are “unable” to engage in
their core business activities, their conclusory assertions are demonstrably incorrect. Contra, e.g., ECF No. 45 at 9-
10. HB 1569 does not regulate nonprofit advocacy, education, or poll operation services. It should be noted that
Forward Foundation does not make similarly absolute allegations about an “inability” to perform its purported core
business activities. See id. at 11-12. Indeed, it alleges that HB 1569’s impact may be partially mitigated by
redirecting Forward Foundation’s expenditures and updating its materials. ECF No. 1, ¶ 43.
     4
       The Organizational Plaintiffs insist that their future expenditure and reallocation of resources is not “to
advocate against HB 1569[.]” ECF No. 45 at 9. They assert that HB 1569 impedes their missions and activities.
See id. “Advocacy” relates to more than political opposition, though. In the Hippocratic Medicine context, it
includes an organization’s activities to support its clients. See AHM, 602 U.S. at 395 (explaining that the plaintiff’s
opposition and advocacy included FDA petitions, but it also included public education). Plaintiffs’ assertion that
they engage in voter registration, poll operation, and voter education are all “advocacy,” as they inform the public
about state election law requirements. See ECF No. 1, ¶¶ 21-22, 39-40, 34 (self-describing missions to advocate for
political equality, political participation, and public policy); Mayes, 117 F.4th at 1175 (citing Nat’l Council of La
Raza v. Cegavske, 800 F.3d 1032, 1040-41 (9th Cir. 2015)). That which is or is not “advocacy” is less probative of
standing, however, than the question of whether a plaintiff establishes that, as an unregulated party, there is a causal
nexus between the government’s regulation of third parties and the organization’s alleged injuries. See AHM, 602
U.S. at 395. The Organizational Plaintiffs have made no such showing here.

                                                           4
          Case 1:24-cv-00312-SE-TSM               Document 48           Filed 03/05/25          Page 5 of 11




educational materials, and diverting time and resources, the Organizational Plaintiffs’ diversion-

of-resources and frustration-of-mission injury theories also fail. 5

II.         The Individual Plaintiffs Do Not Have Standing to Challenge House Bill 1569

            Plaintiffs’ Opposition asserts that it is improper to ask the Individual Plaintiffs to

demonstrate whether HB 1569 applies to them or whether HB 1569 will imminently prevent

their voter registration. See ECF No. 45 at 14. Plaintiffs offer no authority to support this novel

proposition, nor can they dispute their obligations to plausibly allege that HB 1569 caused each

of them nonspeculative, particularized, and imminent injuries. See AHM, 602 U.S. at 381 (citing

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)). They must show that they have been

injured in a personal and individual way. 6 Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 n.1

(1992). Moreover, they must allege personal and individual injuries with specificity. Draper v.

Healey, 827 F.3d 1, 3 (1st Cir. 2016); AVX Corp., 962 F.2d at 115. Instead of doing so, they

make impermissibly conclusory allegations and speculate regarding the choices third parties

might make in the future. 7 See Hochendoner v. Genzyme Corp., 823 F.3d 724, 731 (1st Cir.

2016). In short, the Individual Plaintiffs must be dismissed as parties because they do not have a

stake in the outcome of this case. 8


      5
       Despite citing Defendants’ Memorandum at 17-20 which argues that “without a cognizable concrete and
particularized harm, HB 1569 could not have caused injury to the Organizational Plaintiffs, nor could the Court
redress their alleged injuries with a favorable decision[,]” Plaintiffs assert that Defendants have not challenged the
causation and redressability elements of direct organizational standing. ECF No. 36-1 at 20. To be clear, the
Organizational Plaintiffs are unregulated parties alleging injuries that are too attenuated from HB 1569’s third party
regulations to confer standing. AHM, 602 U.S. at 382-83. Moreover, redressability is a function of injury, and since
HB 1569 has not caused Plaintiffs injury, there is nothing for this Court to redress in a favorable decision. See
California v. Texas, 593 U.S. 659, 672-73 (2021).
     6
       “While the requisite injury may be common to many … it may not be shared by all.” United States v. AVX
Corp., 962 F.2d 108, 113 (1st Cir. 1992) (citations omitted).
     7
       The Individual Plaintiffs’ standing allegations are wildly speculative, but even if the Court finds that their
subjective fear of “injurious government action” is “not fanciful, irrational, or clearly unreasonable[,]” Plaintiffs’
allegations nevertheless fail to meet the requirement that their injuries be “certainly impending.” See Blum v.
Holder, 744 F.3d 790, 797 (1st Cir. 2014) (quoting Clapper, 568 U.S. at 416).
     8
       Since redressability is a function of injury, and since HB 1569 has not caused the Individual Plaintiffs injury,
there is nothing for this Court to redress in a favorable decision. See California, 593 U.S. at 672-73.

                                                          5
        Case 1:24-cv-00312-SE-TSM                  Document 48            Filed 03/05/25          Page 6 of 11




          A.      Plaintiffs Taylor and Rust Have Not Plausibly Alleged Standing

          Ms. Taylor and Mr. Rust (“Registered Voters”) concede that HB 1569 does not apply to

them because they are registered voters. 9 See ECF No. 45 at 15, 17. This should end the

analysis and the Register Voters should be dismissed from this lawsuit. In a bid to avoid this

commonsense result, Plaintiffs offer a parade of horribles that could, someday, somehow, cause

HB 1569 to burden the Registered Voters’ right to vote. To accept their standing argument, the

Court must first assume that the Statewide Voter Registration System (“SVRS”) will go down

when they vote in a future election because if that happens, HB 1569 might apply to them. 10 Id.

at 15. The Court must then speculate that if Ms. Taylor still has not “formally updated her U.S.

passport,” and if they move towns, their presentation of “reasonable documentation” may cause

injury-in-fact. See id. at 16-18. They reason that the burden is “likely” to occur because a local

official—who is not a party to this lawsuit—might deny their reasonable documentation,

whatever documentation that might be. See id. Mr. Rust adds that he “is substantially more

susceptible to a voter challenge being deemed ‘well grounded’ due to his lack of a physical

address[.]” Id. at 18.

          Injury-in-fact cannot be hypothetical. Katz v. Pershing, LLC, 672 F.3d 64, 71 (1st Cir.

2012). And it should go without saying that “substantially more susceptible” does not establish

injury-in-fact. See Blum, 744 F.3d at 796. The Registered Voters do not premise their standing

on “certainly impending” injury, but rather on pure conjecture of possible future injuries. See



    9
        Plaintiffs claim that they have not conceded this point, emphasizing that HB 1569 “should not apply” to
them. ECF No. 45 at 22 (emphasis in original). But courts should presume that government officials will always act
in good faith unless presented with “well-nigh irrefragable proof” to the contrary. See Croman Corp. v. United
States, 724 F.3d 1357, 1364 (Fed. Cir. 2013) (citations omitted).
     10
         Plaintiffs allege SVRS availability “is highly limited at best,” but Plaintiffs know that is not true. Plaintiffs
allege that “hundreds” or “thousands” used Qualified Voter Affidavits in recent presidential elections, in which they
allege that more than 1.5 million people voted. ECF No. 1, ¶¶ 11, 2. As Plaintiffs’ allegations demonstrate, SVRS
access is routine, not limited. Id.

                                                            6
        Case 1:24-cv-00312-SE-TSM                Document 48            Filed 03/05/25         Page 7 of 11




Sever v. Salem, 390 F. Supp. 3d 299, 307 (D. Mass. 2019) (“Allegations of possible future injury

are not sufficient.”) (quoting Blum, 744 F.3d at 796) (emphasis in original).

            B.     Plaintiffs Borne and the Muirheads Have Not Plausibly Alleged Standing

            Mr. Borne, Mr. Muirhead, and Ms. Muirhead’s (“Youth Plaintiffs”) only allegation to

support standing is that when they register to vote, HB 1569 will require that they “locate and

present” reasonable citizenship documentation. See ECF No. 1, ¶¶ 51-53. This argument fails

because it is a generalized grievance—every prospective voter must prove citizenship. See

Draper, 827 F.3d at 3; RSA 654:12, I. Standing requires the Youth Plaintiffs to allege that they

have been injured in a personal and individual way that differentiates them from the general

public, but they have not done so. See Lujan, 504 U.S. at 560 n.1. Moreover, their standing

allegations are incomplete. If locating and presenting reasonable documentation is burdensome,

completing an affidavit would also be burdensome because it would be a requirement in addition

to the voter application. See ECF No. 45 at 19 (“The severity of the burden has no bearing on

standing.”). So, the allegation that HB 1569 places a greater burden on the Youth Plaintiffs than

completing an affidavit is conclusory, and requires additional specificity regarding that which

makes it more burdensome, but they have not done so. 11 See AHM, 602 U.S. at 381.

III.        Plaintiffs Have Not Stated Claims upon Which the Court May Grant Relief

            Not one of the Plaintiffs has alleged that he or she has been denied the right to vote, so



        The Youth Plaintiffs misconstrue the out-of-circuit dicta they cite to support their novel standing theory.
       11

Contra ECF No. 45 at 18-19. In Billups, the Eleventh Circuit held that two plaintiffs had standing to challenge a
voter ID law where: (1) they were registered voters; (2) who did not have photo ID; and (3) that as “registered
voters, [they] would be required to present photo identification to vote in person, so they have suffered a sufficient
injury.” Common Cause/Georgia v. Billups, 554 F.3d 1340, 1351-52 (11th Cir. 2009) (emphasis added). The law
required the plaintiffs to make a special trip to the county registrar’s office—a trip that was not required of other
registered voters. Id. at 1351. In dicta, the court opined that even if the plaintiffs had the required ID, merely
presenting ID was a sufficient injury for standing. Id. at 1351-52. The Eleventh Circuit’s only citation in support of
this view was another Eleventh Circuit decision in which the plaintiff had specifically alleged that the state
unlawfully rejected her voter application, which she intended as a notice of address change. Charles H. Wesley
Educ. Found., Inc. v. Cox, 408 F.3d 1349, 1352 (11th Cir. 2005). Billups is neither relevant nor persuasive here.

                                                          7
     Case 1:24-cv-00312-SE-TSM                    Document 48            Filed 03/05/25          Page 8 of 11




the only questions presented in this case are whether HB 1569 will imminently deny them their

rights to vote or whether it unduly burdens their rights to vote. 12 See ECF No. 1, ¶¶ 92-122. But

rather than explain how the Complaint’s allegations could lead to a reasonable inference that

HB 1569 caused injury to Plaintiffs’ First or Fourteenth Amendment rights, the Opposition

reiterates allegations of possible future harm. This is not sufficient because a “naked assertion

devoid of further factual enhancement” does not suffice to establish claims upon which First

Circuit courts may grant relief. Maldonado v. Fontanes, 568 F.3d 263, 273 n.6 (1st Cir. 2009)

(quoting Iqbal and Twombly) (cleaned up). Plaintiffs’ assertions that HB 1569 burdens them and

nonparties, without describing how or to what degree it personally burdens Plaintiffs, is rote

recitation of the elements—they are not factual allegations. See Ocasio-Hernandez v. Fortuño-

Burset, 640 F.3d 1, 10 (1st Cir. 2011) (analyzing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

         That which a plaintiff must prove at the merits stage of a case determines what a plaintiff

must plausibly allege at the pleadings stage. See Alston v. Spiegel, 988 F.3d 564, 571 (1st Cir.

2021). The parties agree that if this case proceeds to the merits, the Court will apply the

Anderson-Burdick analytical framework to weigh the character and magnitude of Plaintiffs’

purported injuries caused by HB 1569. See ECF No. 45 at 19-20. The state’s interest is not in

dispute, as “[t]here is no question about the legitimacy or importance of the State’s interest in

counting only the votes of eligible voters.” Crawford v. Marion Cnty. Election Bd., 553 U.S.

181, 196 (2008). So, to plausibly state a claim, Plaintiffs’ allegations must permit the Court to

reasonably infer that HB 1569 (1) will imminently deny their rights to register or vote; or (2)

imposes burdens disproportionate to New Hampshire’s interest in election integrity. See Hall v.



    12
       The Organizational Plaintiffs cannot vote and, for the reasons explained in Sec. I above, HB 1569 does not
regulate the Organizational Plaintiffs or their activities. Thus, the Organizational Plaintiffs cannot state claims upon
which the Court may grant relief.

                                                           8
     Case 1:24-cv-00312-SE-TSM                   Document 48           Filed 03/05/25          Page 9 of 11




Twitter, Inc., No. 20-cv-536-SE, 2023 U.S. Dist. LEXIS 80569, *2 (D.N.H. 2023) (citing Iqbal

as standing for the proposition that allegations need not be detailed, but they “must provide

‘more than an unadorned, the-defendant-unlawfully-harmed-me accusation.’”). The Complaint

does not satisfy this requirement.

         Plaintiffs offer three arguments to oppose Defendants’ Rule 12(b)(6) Motion to Dismiss,

but each fails. First, they characterize HB 1569’s financial burdens as “significant.” ECF No. 45

at 20. To the contrary, their allegations are limited to speculating that nonparties find passport or

birth certificate fees “time-consuming and expensive.” Id. Nonparties’ potential burdens are

not allegations in support of Plaintiffs’ real burdens:

         To state a claim under section 1983, [a plaintiff] must plead that he was deprived
         of a constitutional or federal right, that a causal connection existed between [the
         defendant’s] action and the deprivation of that right[.]

Alston, 988 F.3d at 574 (emphasis added). If Plaintiffs do not have passports or birth certificates,

they must say as much. They must explain why acquiring either would be an undue burden, why

it is an undue burden to provide other reasonable documentation, and why HB 1569-compliance

will be more burdensome than completing an affidavit. 13 Because they have not done so, the

Complaint does not sufficiently allege that HB 1569 imposes upon them a burden

disproportionate to the state’s interest.

         Second, Plaintiffs assert that HB 1569 exposes them to risks of “arbitrary and disparate

enforcement” due to statutory “ambiguity.” See, e.g., ECF No. 45 at 20 n.7. Not only is this

statement not true as a matter of law, it is acutely speculative since they have not been denied




     13
        Mr. Rust asserts that he does not have a passport and that he does not have “access” to his birth certificate.
ECF No. 1, ¶ 49. He does not explain why regaining “access” to his birth certificate would be burdensome. Ms.
Taylor has a passport, but it is in her maiden name. Id. ¶ 48. She does not explain why she believes that her still-
valid passport would not be reasonable documentation of her citizenship under HB 1569. Regardless, the Registered
Voters have not stated a claim because HB 1569 does not apply to them.

                                                          9
    Case 1:24-cv-00312-SE-TSM                   Document 48           Filed 03/05/25          Page 10 of 11




voter registration, nor has anyone challenged their eligibility. Moreover, Plaintiffs are not

asserting that HB 1569 is unconstitutionally vague. HB 1569 mandates proof of voter eligibility

with clear standards (i.e., birth certificate, passport, and immigration papers) and affords

applicants the opportunity to offer other reliable documentation of their choosing. See

RSA 654:12, I(a). Plaintiffs are wrong to assert that the law is standardless. “Reasonable” and

“more likely than not” are common legal standards. 14 “Reasonable” means that an election

official’s judgment must be “supported by a rational basis” that considers all relevant factors.

See River St. Donuts, LLC v. Napolitano, 558 F.3d 111, 114 (1st Cir. 2009). The “more likely

than not” standard requires a showing of probability. See United States v. Richardson, 14 F.3d

666, 668 (1st Cir. 1994). Plaintiffs’ assertion that the law could create varying results across

localities does not state a claim, as the Fourteenth Amendment does not guarantee uniformity of

results across jurisdictions. See Beck v. Washington, 369 U.S. 541, 554-55 (1962).

         Relatedly, Plaintiffs’ third argument that HB 1569’s immediate judicial review provision

is “illusory,” is baseless. See, e.g., ECF No. 45 at 23. Plaintiffs ask the Court to disregard

HB 1569’s statutory guarantee of “appeal forthwith” of local election officials’ adverse decisions

“before the close of the polls on election day.” RSA 654:12, V. But the Court must assume that

state court judicial review is adequate to protect Plaintiffs’ rights, absent evidence to the

contrary. Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 15 (1987) (“[A] federal court should assume

that state procedures will afford an adequate remedy, in the absence of unambiguous authority to

the contrary.”). Plaintiffs have not provided any reason to believe that New Hampshire state

courts cannot satisfy their statutory and constitutional obligations.

         Plaintiffs offer only conclusory allegations to support their First and Fourteenth


    14
       Plaintiffs complain that “well grounded” is arbitrary, but “well grounded” is not the statutory standard. The
standard is “more likely than not that the challenge is well grounded.” RSA 659:27, II.

                                                         10
    Case 1:24-cv-00312-SE-TSM           Document 48        Filed 03/05/25      Page 11 of 11




Amendment claims that HB 1569 does not adequately protect their rights to register, to vote, or

to overcome erroneous challenges to their voting eligibility. Accordingly, the Complaint should

be dismissed for failure to state a claim upon which the Court may grant relief.

                                        CONCLUSION

       For the foregoing reasons and as explained more fully in Defendants’ Memorandum of

Law (ECF No. 36), the Court should dismiss the Complaint in its entirety.

                                                 Respectfully submitted,

                                                 DEFENDANTS DAVID M. SCANLAN, in his
                                                 official capacity as New Hampshire Secretary of
                                                 State and JOHN M. FORMELLA, in his official
                                                 capacity as New Hampshire Attorney General
                                                 By their attorney,
                                                 JOHN M. FORMELLA
                                                 ATTORNEY GENERAL

       Date: March 5, 2025                        /s/ Michael P. DeGrandis
                                                 Michael P. DeGrandis, N.H. Bar No. 277332
                                                 Assistant Attorney General
                                                 Catherine A. Denny, N.H. Bar No. 275344
                                                 Assistant Attorney General
                                                 New Hampshire Department of Justice
                                                 1 Granite Place South
                                                 Concord, NH 03301
                                                 (603) 271-3650
                                                 michael.p.degrandis@doj.nh.gov
                                                 catherine.a.denny@doj.nh.gov

                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all parties of record through
the Court’s e-filing system.

                                                 /s/ Michael P. DeGrandis
                                                 Michael P. DeGrandis




                                                11
